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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


In re:                                               )   Case No.: 19-02334
                                                     )
Charles J. Trost and Pamela J. Trost                 )   Chapter 7
                                                     )
                       Debtors.                      )   Honorable Janet S. Baer
                                                     )   (DuPage)



                                    NOTICE OF MOTION


PLEASE TAKE NOTICE that on April 12, 2019, at11:00 AM, or as soon thereafter as counsel
may be heard, I shall appear before the Honorable Judge Janet S. Baer, Bankruptcy Judge, in the
Kane County Courthouse, 100 S. Third Street, Geneva, Illinois, room 240, or before any other
Bankruptcy Judge who may be sitting in her place and stead, and shall then and there present this
MOTION OF SECURED CREDITOR BANK OF AMERICA, N.A. FOR ENTRY OF AN
ORDER: (I) COMPELLING TRUSTEE TO ABANDON PROPERTY PURSUANT TO
SECTION 554(b) AND (II) GRANTING RELIEF FROM THE AUTOMATIC STAY
PURSUANT TO SECTION 362(d), a copy of which is attached hereto and herewith served
upon you, and shall pray for the entry of an Order in compliance therewith, at which time you
may appear if you so desire.

Dated: April 2, 2019                        BANK OF AMERICA, N.A.

                                            By: /s/ Lars A. Peterson
                                                  One of its Attorneys
Lars A. Peterson (ARDC No. 6293551)
Lowis & Gellen LLP
175 West Jackson Blvd., Suite 950
Chicago, Illinois 60604
(312) 364-2500
lpeterson@lowis-gellen.com
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                                 CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that I have served a copy of this Notice and the Motion
attached hereto on the parties listed on the attached Service List by CM/ECF or via U.S. Mail when
indicated, at or before 5 p.m., on April 2, 2019.

                                               /s/ Lars A. Peterson

                                            Service List

Parties served by CM/ECF:
      Gina B Krol gkrol@cohenandkrol.com, gkrol@ecf.axosfs.com;
       gkrol@cohenandkrol.com; acartwright@cohenandkrol.com;
       jneiman@cohenandkrol.com
      Patrick S Layng           USTPRegion11.ES.ECF@usdoj.gov
      Michael L Sherman            shermlaw1@aol.com
      Mark J Stauber stauberlaw@comcast.net; markjslaw@aol.com;
       stauberlaw@gmail.com
Parties served by US Mail:

(see following pages)
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Atg Credit                               Avant
1700 West Cortland Street                Attn: Bankruptcy
Suite 201                                Po Box 9183380
Chicago, IL 60622-1166                   Chicago, IL 60691-3380



PRA Receivables Management, LLC          Barclays Bank Delaware             Cadence Health
PO Box 41021                             Attn: Correspondence               c/o Nationwide Credit & Collection
Norfolk, VA 23541-1021                   Po Box 8801                        815 Commerce Dr., Suite 270
                                         Wilmington, DE 19899-8801          Oak Brook, IL 60523-8852



Capital One                              Chase Card Services                Citibank/The Home Depot
Attn: Bankruptcy                         Correspondence Dept                Attn: Recovery/Centralized Bankruptcy
Po Box 30285                             Po Box 15298                       Po Box 790034
Salt Lake City, UT 84130-0285            Wilmington, DE 19850-5298          St Louis, MO 63179-0034



Comenity Bank/Carsons                    Comenity/ MPRC                     Costco Go Anywhere Citicard
Attn: Bankruptcy Dept                    Attn: Bankruptcy                   Citicorp Credit Services/Centralized Ban
Po Box 182125                            Po Box 182125                      Po Box 790040
Columbus, OH 43218-2125                  Columbus, OH 43218-2125            St. Louis, MO 63179-0040



DuPage Medical Group                     EdFinancial Services               Ford Motor Credit
15921 Collections Center Drive           Attn: Bankruptcy                   PO Box 542000
Chicago, IL 60693-0159                   Po Box 36008                       Omaha, NE 68154-8000
                                            Knoxville, TN 37930-6008



Harvard Collection Services, Inc.        Illinois Department of Revenue     Kohls/Capital One
4839 N. Elston Ave.                      P.O. Box 64338                     Kohls Credit
Chicago, IL 60630-2589                   Chicago, IL 60664-0291             Po Box 3120
                                                                               Milwaukee, WI 53201-3120



LVNV Funding/Resurgent Capital           Laura A. Oswald, DO
Attn: Bankruptcy                         7 Blanchard Cir, Suite 200
Po Box 10497                             Wheaton, IL 60189-2039
Greenville, SC 29603-0497



Med Business Bureau                      Merchants Credit Guide Co.         Nordstrom FSB
1460 Renaissance Dr #400                 223 West Jackson Boulevard         Attn: Bankruptcy
Park Ridge, IL 60068-1349                Suite 700                          Po Box 6555
                                          Chicago, IL 60606-6914            Englewood, CO 80155-6555



Synchrony Bank                           Synchrony Bank/AVB Buying Group    Synchrony Bank/Banana Republic
c/o PRA Receivables Management, LLC      Attn: Bankruptcy Dept              Attn: Bankruptcy Dept
PO Box 41021                             Po Box 965060                      Po Box 965060
Norfolk, VA 23541-1021                   Orlando, FL 32896-5060             Orlando, FL 32896-5060
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Synchrony Bank/Care Credit            Synchrony Bank/TJX                  Tnb-Visa (TV) / Target
Attn: Bankruptcy Dept                 Attn: Bankruptcy Dept               C/O Financial & Retail Services
Po Box 965060                         Po Box 965060                       Mailstop BV PO Box 9475
Orlando, FL 32896-5060                Orlando, FL 32896-5060              Minneapolis, MN 55440-9475



US BANK                               US Department of Treasury IRS      Visa Dept Store National Bank/Macy’s
PO BOX 5229                           P.O. Box 7346                      Attn: Bankruptcy
CINCINNATI OH 45201-5229              Philadelphia, PA 19101-7346        Po Box 8053
                                                                         Mason, OH 45040-8053
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                           UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


In re:                                                    )   Case No.: 19-02334
                                                          )
Charles J. Trost and Pamela J. Trost                      )   Chapter 7
                                                          )
                          Debtors.                        )   Honorable Janet S. Baer
                                                          )   (DuPage)


        MOTION OF SECURED CREDITOR BANK OF AMERICA, N.A.
    FOR ENTRY OF AN ORDER: (I) COMPELLING TRUSTEE TO ABANDON
 PROPERTY PURSUANT TO SECTION 554(b) AND (II) GRANTING RELIEF FROM
          THE AUTOMATIC STAY PURSUANT TO SECTION 362(d)


         BANK OF AMERICA, N.A. (the “Bank”), by and through its undersigned attorneys,

respectfully moves this Court (the “Motion”) for entry of an order (the “Order”):

              i.   pursuant to Bankruptcy Code section 554(b), compelling the chapter 7 trustee (the

                   “Trustee”) to abandon: (a) those certain 6,040 shares of common stock (the

                   “Pledged Shares”) in CJT Koolcarb, Inc., an Illinois corporation (“CJT

                   Koolcarb”), owned by Charles J. Trost, Jr. (the “Debtor”); and (b) any interest

                   the estate may have in certain pending state-court proceedings (the “Related

                   Cases”);

          ii.      pursuant to Bankruptcy Code section 362(d)(2), granting the Bank relief from the

                   automatic stay to permit the Bank to exercise state-law rights and remedies: (a)

                   with respect to the Pledged Shares; and (b) with respect to the Related Cases.

In support of this Motion, the Bank respectfully states as follows:

                                           JURISDICTION

         1.        This Court has jurisdiction pursuant to 28 U.S.C. §1334 and Internal Operating

Procedure 15(a) of the United States District Court for the Northern District of Illinois.
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        2.     The predicates for this Motion are sections 554(b) and 362(d)(2) of title 11 of the

United States Code, as amended (the “Bankruptcy Code”) and Fed. R. Bankr. P. 4001 and

6007.

                                            OVERVIEW

        3.     The Bank holds a secured claim based upon a state court judgment against the

Debtor in the amount of at least $1,768,255.86, excluding attorneys’ fees and costs, which

continue to accrue. The Bank’s claim is secured by stock owned by the Debtor in CJT Koolcarb,

which the Debtor pledged to the Bank as security for loans made to the Debtor. The value of the

Pledged Shares is less than the amount of the Bank’s claim. Accordingly, the Bank seeks to

have the Trustee abandon the estate’s interest in the Pledged Shares so that the Bank can seek to

exercise its rights and remedies with respect to its collateral.

        4.     Furthermore, the Bank seeks relief from the automatic stay with respect to the

Related Cases – matters to which the Debtor is nominally a party, but from which there is no

hope of any recovery for the bankruptcy estate.

                                  FACTUAL BACKGROUND

   A. The Bank Holds a Secured Claim Against the Debtor Stemming From Loan
      Agreements


        5.     On or about September 1, 2005, the Debtor and his mother, Shirley Trost

(together, the “Borrowers”), jointly and severally executed a promissory note in the original

principal amount of $2,400,000.00 (attached hereto as Exhibit 1) in favor of LaSalle Bank

National Association (“LaSalle”) (as amended from time to time, the “Note”). Borrowers and

LaSalle entered into a Loan Agreement at that time (attached hereto as Exhibit 2) which, among

other things, contained relevant terms and conditions for the Original Note (as amended from

time to time, the “Loan Agreements”).


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       6.     In connection with the Loan Agreements, the Borrowers granted the Bank a

security interest in stock the Borrowers held in CJT Koolcarb.         That security interest is

documented in the Stock Pledge Agreement (attached hereto as Exhibit 3) dated as of September

1, 2005 (the “Original Stock Pledge Agreement,” and as subsequently amended, the “Stock

Pledge Agreement”) which was later amended by that certain Stock Pledge Modification

Agreement (attached hereto as Exhibit 4) dated as of July 2, 2012 (the “Stock Pledge

Modification”).

       7.     On or about October 17, 2008, LaSalle merged into and with the Bank, and the

Bank became the owner and holder of the Loan Agreements.

       8.     The Bank sued the Debtor in the Circuit Court of Cook County (the “Circuit

Court”) in connection with the Debtor’s breach of the Loan Agreements (Case No. 2013-L-

009093). On September 23, 2014, the Circuit Court entered a judgment in favor of the Bank and

against the Debtor in the amount of $1,336,882.79 (attached hereto as Exhibit 5) as the amount

due and owing for breach of the Loan Agreements. On October 2, 2014, the Circuit Court

entered a judgment as to attorney’s fees and costs in favor of Bank and against the Debtor in the

amount of $9,644.51 (attached hereto as Exhibit 6). The aggregate amount of the two judgments

entered against the Debtor by the Circuit Court (together the “Judgments”) is One Million Three

Hundred Forty Six Thousand Five Hundred Twenty-Seven and 30/100 Dollars ($1,346,527.30).

       9.     In connection with the Judgments, the Debtor was indebted to Bank as of the

Petition Date in the following amounts:

Original Principal Amount of Judgments:                                           $1,346,527.30
Accrued Post-Judgment Interest to Petition Date:                                    $527,227.04
Amounts Repaid to Bank Prepetition:                                               ($105,498.48)
Total Amount Owed on Petition Date:                                               $1,768,255.86




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         10.   The    Original   Stock   Pledge       Agreement   includes   that   certain   Issuer

Acknowledgment dated as of September 1, 2005 (the “Original Issuer Acknowledgement”)

(see Exhibit 3, page 17 of 18) signed by CJT/Koolcarb, Inc., a Delaware corporation. The

Debtor’s pledge of stock to the Bank was further acknowledged by CJT Koolcarb in that certain

Issuer Supplemental Stock Pledge Acknowledgement (attached hereto as Exhibit 7) dated as of

January 1, 2008 (the “2008 Issuer Acknowledgement”).

         11.   By letter dated February 1, 2016 (attached hereto as Exhibit 8), counsel for the

Bank notified CJT Koolcarb of the Borrowers’ default on the Note, the entry of the Judgments in

favor of the Bank, and the Bank’s assertion of its rights as a secured creditor under the Stock

Pledge Agreement.

         12.   By reply dated February 24, 2016, counsel for CJT Koolcarb acknowledged the

Bank’s notice pursuant to the Stock Pledge Agreement and agreed to recognize the Bank’s rights

thereunder (attached hereto as Exhibit 9).

   B. Status of Probate Proceeding for Estate of Shirley M. Trost

         13.   On August 23, 2013, a probate action (DuPage County, 2013 P 000765) (the

“Probate Proceeding”) was opened for the estate of the Debtor’s mother, Shirley Trost (the

“Probate Estate”).      The Debtor has previously appeared through counsel in the Estate

Proceeding as an heir to the Estate.

         14.   On October 23, 2013, the Bank made a claim against the Probate Estate in the

amount of $1,231,392.94 plus attorneys’ fees, costs, and interest (attached hereto as Exhibit 10).

On March 15, 2018, the Probate Court entered an order (attached hereto as Exhibit 11) allowing

the Bank’s Claim against the Probate Estate pursuant to the Bank’s Petition to Adjudicate its

Claim.




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       15.     The Probate Estate contains no significant assets other than 1,565 uncertificated

shares of stock in CJT Koolcarb (the “Probate Shares”) (see Exhibit 12, page 11 of 12).

       16.     Pursuant to the Stock Pledge Agreement executed by Shirley M. Trost and

acknowledged by CJT Koolcarb, the Bank was granted a security interest in the Probate Shares.

       17.     CJT Koolcarb also filed a claim against the Probate Estate in the amount of

$3,784,143.17, which it claimed was secured pursuant to a security agreement. On July 27,

2016, the Bank and CJT Koolcarb entered into a Stipulation (attached hereto as Exhibit 13) as to

Lien Priority (“Probate Stipulation”). In the Probate Stipulation, the Bank and CJT Koolcarb

agreed that the Bank has a superior lien position to CJT Koolcarb’s lien position as to the

Probate Shares, and that the Bank’s claim on the Probate Shares is prior to the claim of CJT

Koolcarb. On October 26, 2018, the Probate Court entered an order disallowing CJT Koolcarb’s

claim (attached hereto as Exhibit 14).

   C. Status of Declaratory Judgment Action

       18.     On January 8, 2018, CJT Koolcarb filed a declaratory judgment action against the

Bank (DuPage County, 2018 MR 00031) (the “Declaratory Judgment Action” and, together

with the Probate Proceeding, the “Related Cases”). The Declaratory Judgment Action relates to

3,984 uncertificated shares of stock in CJT Koolcarb (the “Settlement Shares”) that were

obtained by the Debtor from his father’s estate and transferred by the Debtor to CJT Koolcarb in

September 2014 in connection with a settlement agreement reached between the Debtor and CJT

Koolcarb. The Settlement Shares are not property of the bankruptcy estate or of the Debtor.

       19.     In the Declaratory Judgment Action, Koolcarb is seeking a declaratory judgment

that: (i) the Settlement Shares are not subject to the Bank’s security interest under the Stock

Pledge Agreement; and (ii) the Bank is prohibited from selling any pledged stock to a non-

individual, and from taking ownership of any pledged stock.


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       20.       Although the Bank was the only defendant named by CJT Koolcarb in its original

Declaratory Judgment Action complaint, the Court later ordered CJT Koolcarb to add all CJT

Koolcarb shareholders (including the Debtor) as defendants to the Declaratory Judgment Action.

On July 19, 2018, CJT Koolcarb filed its First Amended Complaint in the Declaratory Judgment

Action (attached hereto as Exhibit 15), which named the Bank, the Debtor, and numerous other

parties as defendants due to their status as CJT Koolcarb’s shareholders.

                                     RELIEF REQUESTED

       21.       The Bank requests that the Court enter an Order: (i) pursuant to Bankruptcy Code

section 554(b), ordering Trustee to abandon: (a) the Pledged Shares; and (b) any interest the

bankrutpcy estate may have in the Related Cases; and (ii) pursuant to Bankruptcy Code section

362(d)(2), granting the Bank relief from the automatic stay to permit the Bank to exercise state-

law rights and remedies: (a) with respect to the Pledged Shares; and (b) with respect to the

Related Cases.

                                          ARGUMENT

   A. The Court Should Order the Trustee to Abandon the Pledged Shares and any Interest
      in the Related Cases

       22.       Section 554(b) of the Bankruptcy Code provides that: “On request of a party in

interest and after notice and a hearing, the court may order the trustee to abandon any property of

the estate that is burdensome to the estate or that is of inconsequential value and benefit to the

estate.” 11 U.S.C. § 554(b).

       23.       “The normal use of § 554 is to give up an interest in [property] that is burdened

by a debt so large that the equity value is negligible or negative.” In re Res. Tech. Corp., 430

F.3d 884, 887 (7th Cir. 2005); see also In re Pearson Indus., Inc., 178 B.R. 753, 761 (Bankr.

C.D. Ill. 1995) (“If there is no equity in the collateral for the bankruptcy estate or if the property



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is burdensome to the estate, the trustee generally abandons the property ...”). “A Trustee in

bankruptcy may abandon worthless or low value assets, including legal claims.” Biesek v. Soo

Line R. Co., 440 F.3d 410, 413 (7th Cir. 2006).

         The Bankruptcy Estate Has No Equity in the Pledged Shares

         24.     In his schedules of assets, the Debtor describes the Pledged Shares as “6000

shares of CJT Koolcarb, Inc.,” and assigns a value to those shares of $846,000.1 [Docket No. 17

at 6; see also Docket No. 1 at 8]

         25.     The Debtor’s asserted value of $846,000 is well below the $1,768,255.86 debt

owed to the Bank, which encumbers the Pledged Shares.

         26.     The actual value of the Pledged Shares is likely even less than the value asserted

by the Debtor in his schedules for several reasons, including:

        CJT Koolcarb is a closely held corporation owned primarily by members of the Trost
         family;

        The Pledged Shares represent a minority interest in CJT Koolcarb, and as such would
         likely sell at a substantial discount to the value of a controlling interest. See, e.g., Curry's
         Estate v. United States, 706 F.2d 1424, 1428 (7th Cir. 1983) (“[I]t does not comport with
         common sense that a willing buyer would be likely to purchase non-voting shares in a
         small, family-held business, without concomitantly purchasing a controlling voting
         interest.”); In re Opelika Mfg. Corp., 66 B.R. 444, 449–50 (Bankr. N.D. Ill. 1986)
         (finding that a “block of stock representing a minority position in a closely-held company
         would trade at a very substantial [i.e. 50%-60%] discount.”);

        The company’s S-Corporation status and certain provisions of its bylaws may restrict the
         ownerhip of its stock by certain persons, as CJT Koolcarb has argued in the Declaratory
         Judgment Action;

        The Pledged Shares are encumbered by the Bank’s security interest pursuant to the Stock
         Pledge Agreement, and therefore the disposition of such shares will likely need to involve
         the added complication of a UCC sale;

        Throughout the years of litigation and negotiation that preceded the filing of this chapter
         7 proceeding, no party in interest, including CJT Koolcarb and its other shareholders, has
         ever offered to purchase the Bank’s interest in the Pledged Shares for anything

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 This asserted value of $846,000 for 6,000 shares is equal to $141.00 per share. The Bank believes that the actual
number of shares held by the Debtor is 6,040 rather than 6,000.


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          approaching the value asserted by the Debtor.

          27.    Accordingly, the estate has no equity in the Pledged Shares.

          The Bankruptcy Estate Has No Equity in the Probate Estate

          28.    Although the Debtor is technically an heir of the Probate Estate, there is no

possibility of any property from the Probate Estate being inherited by the Debtor. The Illinois

Probate Code provides that a probate estate cannot distribute assets to an heir or legatee of a

decedent unless “there are sufficient assets to pay all claims.” 755 ILCS 5/28-10.

          29.    As noted above, the Bank holds an allowed claim against the Probate Estate in the

amount of $1,231,392.94 plus attorneys’ fees, costs, and interest.

          30.    The Probate Estate does not contain any assets from which to pay the claims of

creditors except for the Probate Shares.

          31.    Using the Debtor’s valuation of $141 per share (which the Bank believes

overstates the shares’ value), the value of the Probate Shares is no more than $220,665.00. Thus,

the Probate Estate is deeply insolvent, and neither the Debtor nor any other beneficiary will ever

be entitled to any distribution of property from the Probate Estate.

          The Bankrtupcy Estate Has No Equity in the Declaratory Judgment Action

          32.    Although the Debtor has been named as a defendant in the Declaratory Judgment

Action, he has no property interest at stake in that matter, and cannot gain anything of value from

it.

          33.    The Declaratory Judgment Action is a dispute between CJT Koolcarb and the

Bank over: (i) whether the Bank holds a security interest in the Settlement Shares (which are

owned by CJT Koolcarb), and (ii) whether the Bank can sell pledged stock to a non-individual,

or take ownership itself of pledged stock.




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       34.     Neither the Debtor nor his bankruptcy estate stands to gain anything of value in

the Declaratory Judgment Action.

       35.     The estate’s interest (if any) in the Related Cases is “of inconsequential value and

benefit to the estate.” 11 U.S.C. § 554(b). Accordingly, the court should require the Trustee to

abandon any interest the estate may have in the Related Cases.

   B. The Bank is Entitled to Relief From Stay Under Section 362(d)(2)

       36.     Pursuant to section 362(d)(2) of the Bankruptcy Code, the Bank is entitled to

relief from the automatic stay in order: (i) to exercise its rights under the Stock Pledge

Agreement with regard to the Pledged Shares, and (ii) to exercise its state-law rights and

remedies with respect to the Related Cases.

       37.     Section 362(d)(2) provides that “the court shall grant relief from the stay ... with

respect to a stay of an act against property under subsection (a) of this section, if— (A) the

debtor does not have an equity in such property; and (B) such property is not necessary to an

effective reorganization.” 11 U.S.C. § 362(d)(2).

       38.     In a chapter 7 case, which involves the liquidation of the debtor’s assets rather

than a reorganization, “[t]he only question faced by the bankruptcy court” in applying the

analysis required under section 362(d)(2) is “whether the debtor had equity in the property.”

Matter of Vitreous Steel Prod. Co., 911 F.2d 1223, 1232 (7th Cir. 1990); see also In re Quade,

482 B.R. 217, 231 (Bankr. N.D. Ill. 2012) (“because this is a chapter 7 case, there will be no

reorganization, and therefore lack of equity is all [movant] need show.”)

       39.     To determine whether a debtor has equity in an asset within the meaning of

section 362(d)(2), the court must compare the value of the asset to the amount of the debt that

encumbers it; if the debt is greater than or equal to the value of the asset, then the stay should be

lifted. See Matter of Vitreous Steel Prod. Co., 911 F.2d 1223, 1232 (7th Cir. 1990).


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       40.     As set forth in detail above, the Debtor’s estate has no equity in the Pledged

Shares, nor in the Related Cases. Accordingly, the automatic stay should be lifted pursuant to

section 362(d)(2).

                                     NO PREVIOUS MOTION

       41.     No previous motion for the relief set forth herein has been sought by Bank in this

or any other court.

                                              NOTICE

       42.     Notice of this Motion has been given to: (i) the United States Trustee; (ii) the

Debtors and their Counsel; (iii) the Trustee, and (iv) all creditors. In light of the nature of the

relief requested, the Bank submits that no other or further notice is required.




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       WHEREFORE, Bank respectfully requests that this Court enter an order:

          i.   pursuant to Bankruptcy Code section 554(b), compelling the Trustee to abandon:

               (a) the Pledged Shares; and (b) any interest the estate may have in the Related

               Cases;

        ii.    pursuant to Bankruptcy Code section 362(d)(2), granting the Bank relief from the

               automatic stay to permit the Bank to exercise state-law rights and remedies: (a)

               with respect to the Pledged Shares; and (b) with respect to the Related Cases; and

        iii.   granting the Bank such other and further relief as this Court deems just and

               proper.


Dated: April 2, 2019
                                             Respectfully submitted,

                                             BANK OF AMERICA, N.A.

                                             By: /s/ Lars A. Peterson
                                                   One of its Attorneys
Lars A. Peterson (No. 6293551)
Lowis & Gellen LLP
175 West Jackson Blvd., Suite 950
Chicago, Illinois 60604
(312) 364-2500
lpeterson@lowis-gellen.com




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